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                            UNITED STATES DISTRICT COURT

              EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION



 GERALD CARLIN, JOHN RAHM, PAUL                   Case No. 1:09 CV 00430-AWI-DLB
 ROZWADOWSKI and BRYAN WOLFE,
 individually and on behalf of themselves and all
 others similarly situated,                       STIPULATION OF COUNSEL CHANGING
                                                  THE HEARING DATE ON DEFENDANTS’
                                  Plaintiffs,     MOTION TO DISMISS TO AUGUST 31, 2009
                                                  AND EXTENDING TIME TO FILE
 v.                                               OPPOSITIONS AND REPLIES

 DAIRYAMERICA, INC. and CALIFORNIA
 DAIRIES, INC.,

                                  Defendants.


       The parties, by and through their respective attorneys of record, hereby stipulate that they

have agreed, after consultation with the Court regarding its calendar, to change the hearing date

on Defendants’ Motions to Dismiss from August 3, 2009 to August 31, 2009.

       The parties further stipulate that Plaintiffs’ Oppositions to Defendants’ Motions to

Dismiss are due on or before July 16, 2009, and Defendants’ Replies are due on or before

August 13, 2009.
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Dated: July 2, 2009                       Respectfully submitted,




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  Counsel for California Dairies, Inc.




                                            ORDER



IT IS SO ORDERED.

Dated:    July 6, 2009                            /s/ Anthony W. Ishii
0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
